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FORM orsc521 (04/16)
                                    UNITED STATES BANKRUPTCY COURT
                                           Northern District of Florida
                                              Gainesville Division

In Re: Gail Angenette Johnson                                         Bankruptcy Case No.: 19−10132−KKS
       SSN/ITIN: xxx−xx−9586
        Debtor
                                                                      Chapter: 7
                                                                      Judge: Karen K. Specie


                          ORDER TO SHOW CAUSE WHY CASE SHOULD NOT BE
                         DISMISSED FOR DEBTOR'S FAILURE TO COMPLY WITH
                       REQUIREMENTS OF SECTION 521 OF THE BANKRUPTCY CODE

      On May 28, 2019, the debtor(s) filed a Voluntary Petition. It appears that the debtor(s) has failed to file or
provide all information required pursuant to 11 U.S.C. § 521(a)(1) within forty−five (45) days after the date of filing
the petition as required by 11 U.S.C. § 521(i). The Bankruptcy Code provides that "[I]f an individual debtor in a
voluntary case under chapter 7 or 13 fails to file all of the information required under subsection (a)(1) within 45 days
after the date of the filing of the petition, the case shall be automatically dismissed effective on the 46th day after the
filing of the petition."1 Accordingly, it is

     ORDERED:

              1. The deadline for the debtor(s) to file or provide the information required by § 521(a)(1) was
                 July 12, 2019.

              2. The debtor(s) shall submit the missing information or show cause, in writing, within fourteen
                 (14) days from the date of this Order why this case should not be dismissed. Failure to
                 comply with this Order may result in this case being dismissed.

     The Clerk is authorized to determine whether this Order to Show Cause has been satisfied upon the filing of the
required document(s).

     DONE AND ORDERED on July 15, 2019.

                                                             /s/ Karen K. Specie
                                                             Karen K. Specie
                                                             U.S. Bankruptcy Judge
SERVICE: Service by the Court to parties in interest




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1 11 U.S.C. § 521(i)(2014). See, In re Soto, 491 B.R. 307 (1st Cir. BAP 2013).
